Criminal Case Cover Sheet
                                                    FILED: REDACTED
                                                                                                        Under Sec                U.S. District court

Place of Offense;                     ^ Under Seal                                                      Judge Assigned:           MS
Cily:      Dulles,Virginia            Superseding indictment:                                           Criminal No.           1:19cr
                                                                                                                                        2M
County: Loudoun                       Same Defendant:                                                   New Defendant:


                                       Magistrate Judge Case No. 1:18mj196                              Arraignment Date:


                                      Search Warrant Case No.                                           R.20/R.40 From:

Defendant Information:


Defendant Name: George Aref Nader                             Alias(es):                                □ Juvenile FBI No. 710459MA3

Address:               Wash ington D.C. 20009

Employment:

Birth Date: 1959                SSN: 7643                  Sex:      Male           Race: White                  Nationality: Lebanon/U.S.


Place of Birth: Lebanon              Height: 5'8"   Weight:   172           Hair: Black       Eyes:   Brown      Scars/Tattoos:


Q Interpreter Language/Dialect:                                                   Auto Description:

Location/Status:


Arrest Date: June 3,2019                 ^ Already in Federal Custody as of:         June 3,2019                     in:   Alexandria City Jail

□ Already In State Custody               □ On Pretrial Release              . □ Not in Custody

□ Arrest Warrant Requested               □ Fugitive                          □ Summons Requested

r~j Arrest Warrant Pending               Q Detention Sought                  Q Bond

Defense Counsel Information:


Name:      Timothy McCarten (See Attached)                          □ Court Appointed           Counsel Conflicts:

Address: 555 11th St, NW, Ste 1000, Washington, DC 20004            □ Retained

Phone:     (202)637-2200                                            □ Public Defender                                □ Federal Public Conflicted Out

U.S. Attorney Information:

AUSA(s): Jay V. Prabhu and Laura Fong                                        Phone: 703-299-3842/3934                Bar No.      85376 (Jay Prabhu)

Complainant Aaencv - Address & Phone No. or Person & Title:

 Special Agent Ted Delacourt, FBI, 9325 Discovery Blvd, Manassas, VA 20109,202-507-3585
U.S.C. Citations:       Code/Section                  Offense Charged                                 Count(s)             Capltal/Feionv/Misd./Pettv

  Setl:             18 U.S.C. 2252(a)(1)& g Transportation Visual Depict. Minors          1                                Felony


  Set 2:            18 U.S.C. 1462           Transportation of Obscenity                  2                                Felony


  Date:           July 1,2019                AUSA Signature:                                                                may be continued on reverse
